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November 28, 2022
VIA EMAIL
magistrate judge carlson@pamd.uscourts.gov
Magistrate Judge Martin C. Carlson
United States District Court Middle District of Pennsylvania
228 Walnut Street,
P.O. Box 983
Harrisburg, PA 17108

Re: Jane Doe, et al. v. Schuylkill County et. al.
Civil Action No.: 3:21-00477

Dear Judge Carlson:

Please allow this letter to respond to Attorney Smith’s letter of November 18, 2022 (ECF
No. 176), concerning attorney-client privilege issues.

By way of background, this Honorable Court’s Order (ECF No. 170) dated October 19,
2022, permitted briefing by Plaintiffs and a response by Defendants to an issue surrounding a
specific question during a deposition in which the attorney-client privilege was asserted and to
which this Court sustained defense counsel’s objection.

As a threshold matter, the November 18, 2022, letter of counsel for Plaintiffs does not
address the specific question raised to the Court during that deposition. The discussion with the
Court, which begins on page 306 of the enclosed transcript, identified as Exhibit A, but filed under
seal per existing confidentiality obligations, speaks for itself and makes that clear. So does the
Court’s October 19, 2022 Order (ECF No. 170). Rather than address the issue that was raised

with the Court, Plaintiffs’ November 18 letter attempts to raise different issues connected to

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ongoing discovery matters, asking this Court to make a ruling without a proper or sufficient
factual predicate. Because the issue raised with the Court during the deposition was finite and
limited in nature, defense counsel only asked for ten days to respond. Respectfully, Plaintiffs’
counsel’s letter did not confine itself to the issue before the Court, and instead muddied the
waters by filing a 19-page position and improperly addressing issues not raised with the Court
during the argument on October 19, 2022. This was not contemplated during argument before
the Court. It certainly was not contemplated when counsel requested ten days to respond.
Arguments which exceed the scope of what was discussed orally with the Court are not properly
before the Court. If Plaintiffs wish to raise them, they should be done by way of motion. If the
Court is to consider these extraneous arguments at this time, while these Defendants provide
limited comments herein, these defendants seek additional time to address them.

A single issue is properly before the Court. The language of the October 19, 2022, Order
makes clear that the sole issue to be considered by the Court through briefing related to a specific
inquiry to Heidi Zula, the former Human Resources Director for Schuylkill County. (See Order at
ECF 170.) Counsel for Plaintiffs was questioning Ms. Zula about whether she gave a document to
outside labor counsel with whom she was consulting. Because the questions addressed
information that Zula was providing to her lawyer in connection with seeking his input on an
employment accommodation, an objection based on attorney-client privilege was asserted.
Attached hereto and marked as Exhibit A is an excerpt from the Zula deposition, showing the

context of the inquiry and the reasonable objection lodged. (See Exhibit A, Zula Depo. at p. 300-
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01.) Thereafter, while breaking from the deposition to address this issue, this Honorable Court
made a ruling sustaining the objection due to the Court’s understanding that Plaintiffs’ counsel’s
question related to an action which would “have taken place in the context of communications
that [Zula] was having with her counsel”. fd.

The November 18, 2022, letter of counsel for Plaintiffs does not address this issue. It
never refers to the question, does not identify the specifics of the area of inquiry of Ms. Zula nor
does it address the explanations given during the deposition for the position taken. Instead, the
letter seeks to expand what the Court should now consider by addressing other written discovery
or other deposition questions to which a privilege was asserted. There has not been a specific
motion on those issues nor a written proffer by Plaintiffs (until this letter) for why those issues
are ripe for the Court’s consideration given what the October 19 Order was intended to allow.
Plaintiffs are improperly trying to have this Court overturn its prior ruling about a single objection
during a deposition and expand it to become a blanket ruling that the attorney-client privilege
cannot apply at all in this type of case. In other words, Plaintiffs’ letter is attempting to expand
the issue before the Court to scenarios which are not fully developed in their letter or properly
before the Court. Respectfully, this cannot be permitted.

A question of attorney-client privilege must be evaluated in the context of the specific
area of inquiry in a deposition or in a specific discovery request. Plaintiffs are now, beyond the
scope of the Court’s prior Order, using this letter brief to raise multiple other issues connected

to distinct assertions of attorney-client privilege. These additional scenarios did not arise from
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the specific Zula deposition question which brought the parties before the Court. Instead, the
other instances are borne out of other inquiries in the depositions of Glenn Roth or George
Halcovage or other written discovery requests. They do not relate to the Zula consultation with
outside labor counsel which was the subject of the original objection, but instead relate to other
discovery connected to Plaintiffs’ allegations of retaliation as to Does 3 and 4, following a
suspension relative to their improper use of Lexis-Nexis to conduct personal searches and the
County engaging the law firm of Eckert Seamans connected to this issue. Raising these unrelated
matters here must be viewed as an improper attempt to cloud the issue connected to the Zula
deposition. This Honorable Court need not go farther.

By expanding upon the finite issue before the Court and seeking what is in effect a blanket
ruling eviscerating the Defendants’ attorney-client privilege, Plaintiffs’ letter is an attempt to
engage a fishing expedition to seek information to which they are not entitled through the course
of litigation. Plaintiffs conflate the issues regarding attorney-client privilege as applied to the
claims brought and defenses asserted. That is, Plaintiffs’ position appears to be that because a
Faragher-Ellerth defense was raised by the County to certain claims, attorney-client privilege is
waived in its entirety by all defendants throughout the litigation. That defense is applicable to
some, but not all, of the causes of action at issue in this lawsuit. It is also only applicable to the

County, not the individual defendants.

 

* Plaintiffs’ letter also makes references to information sought through subpoenas, but no such subpoenas
from Plaintiffs to these parties or County actors were answered or included a privilege assertion.
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The first three causes of action asserted in the Second Amended and Supplemented
Complaint are brought for alleged violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
Section(s) 2000e et seq. (Count | (discrimination), Count II (retaliation) and Count III (hostile work
environment)). They are asserted only against Schuylkill County, not any of the individual
defendants. These are the only Title VII claims brought throughout Plaintiffs’ exhaustive
Complaint.

The Faragher- Ellerth affirmative defense applies to certain Title VI! claims in which an
employer demonstrates” that (i) it ‘exercised reasonable care to avoid harassment and to
eliminate it when it might occur,’ and that (ii) the plaintiff ‘failed to act with like reasonable care
to take advantage of the employer's safeguards and otherwise prevent harm that could have
been avoided.” Turner v. City of Philadelphia, No. CV 16-4476, 2017 WL 3129622, at *10, n. 1
(E.D. Pa. July 24, 2017) (quoting Faragher v. City of Boca Raton, 524 U.S. 775, 807 (1998).

The Faragher-Ellerth defense was properly raised by the County as applicable to Plaintiffs’
Title VII discrimination and hostile work environment claims. Contrary to Plaintiffs’ unsupported
assertion in the 19-page missive, it does not apply to retaliation claims under Title VI. Turner v.
City of Philadelphia, No. CV 16-4476, 2017 WL 3129622, at *10 (E.D. Pa. July 24, 2017) (“we find
that the Faragher-Ellerth defense is inapplicable to Turner's Title VII claim of pure retaliation”).

As applied to the discrimination and hostile work environment claim, the Faragher-Ellerth
defense was raised by the County as to Doe 1’s initial complaint in May 2020. That is, there was

a sexual harassment policy, and the Plaintiffs and Defendants were trained in that policy. While
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there were means to report alleged harassment and discrimination, the Plaintiffs failed to avail
themselves of those opportunities. Upon learning of the complaint for the first time, the County
launched an investigation which included Human Resources Director Deb Twigg and Defendant
Assistant Solicitor (attorney) Roth. Twigg then issued a report. The report was produced in
discovery.

Plaintiffs now make a broad-sweeping argument that Roth’s participation in the
investigation generally waives attorney-client privilege given the Faragher-Ellerth defense.
However, the non-binding case law cited by Plaintiffs’ from outside of this jurisdiction merely
provides that attorney documents reflecting a pre-litigation investigation are subject to
discovery. Importantly, such pre-litigation information has been produced by Defendants here
and testimony from the Defendants on that investigation has been permitted. Indeed, Plaintiffs
have not (and cannot) point to any part of the record which provides that testimony regarding
Roth’s involvement in the initial complaint investigation was improperly withheld given the scope
of the defense raised. Specifically, Roth testified regarding the questions that were asked during
the investigation, the information provided by the witnesses interviewed and the scope of the
investigation. In that sense, Plaintiffs are raising a moot point.

It is also important to note that Plaintiffs’ overreaching argument applies only to pre-
litigation investigations involving an attorney. It does not apply when an investigation was
conducted in anticipation of continued litigation or when the parties are already adverse. Walker

v. County of Contra Costa, 227 F.R.D. 529, 535 (N.D.Cal.2005). Relative to requests connected to
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reports from Eckert Seamans, such information relates to that firms’ involvement in investigating
Doe 3 and Doe 4’s improper use of Lexis Nexis and their employment suspension stemming from
the same. This occurred in 2021, well after this lawsuit was initiated by Plaintiffs. As previously
indicated, allegations regarding Doe 3 and Doe 4’s suspension stemming from the improper
LexisNexis use relate to Plaintiffs’ claims of retaliation. The Faragher-Ellerth defense was not
(and cannot) be raised by the County as to these claims. That is, the County is not relying on the
sufficiency of an investigation performed by Eckert Seamans in making its employment decisions
relative to Doe 3 and Doe 4. Instead, the County is relying upon the underlying facts - that Doe 3
and Doe 4 took inappropriate actions when making unlawful searches through Lexis Nexis - in
making determinations regarding their employment. No lawful basis entitles Plaintiffs to the
protected information.

These Defendants, therefore, ask the court to confirm its prior ruling from the Zula
deposition and not to permit further expansion of the issues sought to be reviewed.

Notwithstanding, if the Court finds that the issues raised in Plaintiffs’ November 18 letter are ripe
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for review at this stage, these defendants seek additional time to address the random and
differing scenarios identified, seeking an additional twenty-one (21) days to respond.
Very truly yours,
A
(Mase Hl
“ MARIE MILIE JONES
Counsel for Defendants,

SCHUYLKILL COUNTY, GARY BENDER and
HEIDI ZULA

MMJ/bac
Enclosure

cc: All Counsel of Record (w/encl.) — VIA Email
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EXHIBIT A

(TO BE FILED UNDER SEAL)
